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Attc)rne S for Plaihtiff ELITE LGGISTICS CGRPORATION,
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UNITED STATES DISTRICT COURT
F()R THE CENTRAL DISTRICT OF CALIFORNIA

§C:§Se §§ §§

      

ELITE LOGISTICS CORPORATIG`
and en behalf of all others Similarly

Situated,
_ _ CLASS ACTI()N COMPLAINT
Plamuffs,
1) UNLAWFUL BUSINESS
V. PRACTICES CALIFORNIA

BUSINESS A D PROFESSIONS

MOL(AMERICA),INC.,andDOES1-10, CODE 17200 @z. SQM;
2) BREA <)_F C’<)NT CT;
Defendant. f

DEMAND F()R JURY TRIAL

 

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CLASS ACTION COMPLAINT

 

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Plaintiff ELITE LOGISTICS CORPORATION (“Plaintiff’), on behalf of itself and
all others similarly situated, alleges on information and belief against Defendant MOL
(AMERICA), lNC., and DOES l-l(), inclusive, the following:

l
INTR()DUCTION AND SUMMARY OF ACTI()N

l. This is a civil action primarily seeking restitution and disgorgement of all
profits gained by Defendant’s unlawful levying of per diem, detention, or demurrage
charges on intermodal motor carriers in violation of California Business & Professions
Code section § 22928.

2. Plaintiff also seeks remedies for Defendant’s breach of the Uniform
lntermodal Interchange and Facilities Access Agreement.

3. Plaintiff ELlTE LOGISTICS CORPORATION is a freight transportation
company doing business With multiple marine equipment providers, including but not
limited to, Defendant. Plaintiff, and others similarly situated, contract With marine
equipment providers to transport shipping containers from seaports throughout the State
of California to destinations throughout the United States.

4. The Uniform lntermodal lnterchange and Facilities Access Agreement
(“UHA”) administered by The lntermodal Association of North America, governs the
interchange and use of equipment in intermodal interchange service Plaintiff, and others
similarly situated, and Defendant are governed by the UHA. A copy of the UHA is
attached hereto as Exhibit l.

5. Additionally, Plaintiff, and all others similarly situated, and Defendant are
bound by California statutes specifically concerning intermodal marine terminals

6. California Business & Professions Code § 22928, prevents an intermodal
marine equipment provider or terminal operator from imposing per diem, detention, or

demurrage charges on an intermodal motor carrier on a Weel<end or holiday.

CLASS ACTION COMPLAINT

 

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7. Plaintiff alleges that Defendant was and is unlawfully charging it, and others
similarly situated, per diem, detention, and/or demurrage charges for weekends and
holidays in violation of § 22928.

8. Plaintiff further alleges that Defendant breached the provisions of the UHA.

ll
PARTIES

9. Plaintiff ELITE LOGISTICS CORPORATION is, and at all times relevant
to this Complaint was, a freight transportation company incorporated in the State of
California, with its principle place of business at l690l S. Keegan Avenue, Carson,
California 90248.

l(). Defendant MOL (AMERICA), INC. is, and at all times relevant to this
Complaint was, a company incorporated in the State of Delaware, with its principal place
of business at l60 Fieldcrest Avenue, Edison, New Jersey 088l8. Defendant l\/lOL
(AMERICA), lNC., is, and was at all times relevant herein, doing business in and/or
having directed its activities in California, and specifically this judicial district.

ll. Plaintiff is unaware of the true names and capacities, whether individual,
corporate, associate, or otherwise, of Defendants DOES l~l(), inclusive, or any of them,
and therefore sues these Defendants, and each of them, by such fictitious names. Plaintiff
will seek leave of this Court to amend this complaint when the status and identities of
these Defendants are ascertained

lZ. At all times relevant herein, Defendant and Does l~lO were the agents of
each other, and in doing the things alleged herein, each Defendant was acting`within the
course and scope of its agency and was subject to and under the supervision of its co-
defendants
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CLASS ACTION COMPLAINT

 

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III
J`URISDICTI()N AND VENUE

13. This Court has original jurisdiction of this action pursuant to 28 U.S.C.

§ 1332. The amount in controversy in this action is well over 875,000 exclusive of
interest and costs, as to Plaintiff and the class.

l4. Venue is proper in this Court pursuant to 28 U.S.C. § l39l(a). A substantial
portion of the events and omissions giving rise to this lawsuit occurred in this judicial
district, and the Court has personal jurisdiction over each of the parties as alleged
throughout this Complaint. Additionally, the UHA provides that venue is proper as to
any monetary obligations between motor carriers and marine operators by reason of
equipment usage charges at the situs of the transaction giving rise to the requested
damages

IV
GENERAL FACTUAL ALLEGATI()NS

l5. Defendant MOL (Al\/lERlCA), lNC., contracts with freight transport
companies such as Plaintiff ELlTE LOGISTICS CORPORATION to transport and
unload its shipping containers from ports to various destinations throughout the United
States.

16. lnternational trade and goods movement are critical elements of the
California economy, representing 8350 billion in annual dollar value, and the state’s
seaports handle and transport much of this material for California and the nation.
California has three of the nation’s largest container ports: Los Angeles, Long Beach and
Oakland. The Ports of Los Angeles and Long Beach process nearly 45% of the nation’s
imports, including 60% of Asian imports shipped to West Coast port facilities

l7. Most of these goods and material are transported by cargo containers carried
on truck vehicles. l\/larine terminal operators at the state’s seaports provide these

containers under contractual agreements to truck operators and the material is then

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transported from the ports to warehouses, retail establishments, manufacturing facilities,
and railyards.

l8. l\/lany of these truck operators are deployed by small trucking companies
(more than 300 operate in the Los Angeles area alone) licensed to conduct business in
California as port trucking entities The trucking firms, either directly or through brokers,
contract with the cargo shippers to provide the independent trucking operators (owner
operators/independent contractors). This arrangement is completed through the use of
lease agreements involving the trucking firms and the operators

l9. The contracts between the truck operators and marine providers state that
during the transport process, the motor carrier is given an allotment of “free days” to pick
up, transport, and return the container to the marine provider at the poit. Per diem
charges are then levied on the motor carrier when the container, also known as
“intermodal equipment,” is not returned by the end of the allowable free time to its
origin, or another location, as agreed to by the contracting motor carrier and marine
provider. Demurrage charges are levied on the motor carrier when the container is not
picked up within the allowable free time.

20. California Business & Professions Code § 22928 provides, in pertinent part,
that:

_ (lz? An intermodal marine equipment provider or _
interm_o al marine terminal operator shall not im ose er diem,
detention, or demurrage charges on an intermoda mo or carrier
relative to transactions involving cargo shipped by intermodal
transport under any of the following circumstances:

(l) When the intermodal marine or terminal truck gate is
closed_ during osted normal working hou_rS. No er diem,
detention, or emurrage char es sha _be impose on a weekend
or holiday, or during a labor ispute disruption eriod, or
during any other period involving an act of Go or any other
planned or unplanned action that closes the truck gate.

2l. California Business & Professions Code § 22928 (Senate Bill 45) was

enacted to prohibit unfair monetary charges imposed by marine terminals on a truck

 

 

 

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driver for pick up or return of specified equipment used for the transporting of cargo
goods from California seaports outside usual working days.

22. Senate Bill 45 was intended to establish certain protections and prohibit
marine terminals from penalizing or imposing certain charges on truck operators related
to the transportation of goods from the state’s seaports and the delayed pick-up or return
of empty or loaded cargo containers caused by charging for weekend days, holidays,
and/ or other days in which the intermodal marine terminal was closed.

23. According to the legislative history for section 22928, “per diem,”
“detention,” or “demurrage” means a charge imposed by an equipment provider for late
pick-up or returns of any empty or loaded intermodal container and chassis.

24. “lntermodal marine terminal” means a marine terminal location or facility
that engages in discharging or receiving equipment owned, operated, or controlled by an
equipment operator.

V
CLASS ACTI()N ALLEGATIONS

25. Plaintiff, and all other similar intermodal motor carriers throughout
California, were unlawfully charged per diem, detention, and/or demurrage charges on
weekends and/or holidays in violation of California Business & Professions Code
§ 22928.

26. Plaintiff brings this action on behalf of itself and a plaintiff class defined as

follows:
All California intermodal _motor carriers who were
charged and aid unlawful 1per diem detention, and/or _ _
demurrage c arges for wee end days and holida s, in violation

of California Business & Professions Code § 22 28, from April
7, 2007, to the present.

EXcluded from this class is any entity in which Defendant has a controlling
interest, and Defendant’s officers or director. Plaintiff, and those similarly situated as

described in the preceding paragraph, may be collectively referred to herein as “The

Class Plaintiffs.”

CLASS ACTION C()MPLAINT

 

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27. This action is brought as a class action and may properly be so maintained
pursuant to the provisions of the Federal Rules of Civil Procedure 23(a) and 23(b).
Plaintiff reserves the right to modify the class definition and the class period based on the
results of discovery.

28. Numerositv of the Class - The class members are so numerous that their
individual joinder is impracticable Plaintiff is informed and believes that there are at
least hundreds of intermodal motor carriers throughout the State of California. Because
the class members may be identified through business records regularly maintained by
Defendant and its employees and agents, the number and identities of class members can
be ascertained l\/lembers of the class can be notified of the pendency of this action by
mail and supplemented by published notice, if necessary;

29. EXistence and Predominance of Common Ouestions of Fact and LaW -
There are questions of law and fact common to the class. These questions predominate
over any questions affecting only individual class members These common legal and
factual issues include, but are not limited to:

a. Whether Defendant unfairly and unlawfully charged class members per diem
detention, and/or demurrage charges for weekends and/or holidays, in violation of
Califoriiia Business & Professions Code § 22928;

b. Whether Defendant’s conduct is an express breach of the terms of the UHA;
and

c. Whether Defendant’s conduct as described above constitutes unlawful,
unfair, or fraudulent business acts or practices in violation of California Business and
Professions Code § l7200 er Seq.;

30. TyQicality - The claims of the representative Plaintiff are typical of the
claims of each class member. Plaintiff, like all other class members, has sustained
damages arising from Defendant’s violations of the law, as alleged herein. The
representative Plaintiff and the class members were similarly harmed by the same

unlawful, unfair, and systematic pattern of misconduct engaged in by Defendant

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CLASS ACTION C()MPLAINT

 

 

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3 l. Adeguacy - The representative Plaintiff will fairly and adequately represent
and protect the interests of the class members and has retained counsel who are
experienced and competent trial lawyers in complex litigation and class action litigation
There are no material conflicts between the claims of the representative Plaintiff and the
class members that would make class certification inappropriate. Class counsel will
vigorously assert the claims of all class members

y 32. Predominance and Superioritv - This suit may be maintained as a class
action under Federal Rules of Civil Procedure 23(b)(3) because questions of law and fact
common to the class predominate over the questions affecting only individual members
of the class and a class action is superior to other available means for the fair and
efficient adjudication of this dispute The damages suffered by individual class members
are small compared to the burden and expense of individual prosecution of the complex
and extensive litigation needed to address Defendant’s conduct Further, it would be
virtually impossible for class members to individually redress effectively the wrongs
done to them. Even if class members themselves could afford such individual litigation,
the court system could not. ln addition, individualized litigation increases the delay and
expense to all parties and to the court system resulting from complex legal and factual
issues of the case lndividualized litigation also presents a potential for inconsistent or
contradictory judgments By contrast, the class action device presents far fewer
management difficulties; allows the hearing of claims which might otherwise go
unaddressed because of the relative expense of bringing individual lawsuits; and provides
the benefits of single adjudication, economies of scale, and comprehensive supervision
by a single court. y

33. Plaintiff contemplates the eventual issuance of notice to the proposed class
members setting forth the subject and nature of the instant action. Upon information and
belief, Defendant’s own business records can be used for the contemplated notices To
the extent that any further notices may be required, Plaintiff would contemplate the use of

additional media and/or mailings

CLASS ACTION COMPLAINT

 

 

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34. ln addition to meeting the statutory prerequisites of a class action, this action
is properly maintained as a class action pursuant to Rule 23(b) of the Federal Rules of
Civil Procedure, in that:

a. Without class certification and determination of declaratory,
injunctive statutory and other legal questions within the class format, prosecution of
separate actions by individual members of the class will create the risk of:

i. lnconsistent or varying adjudications with respect to individual
class members which would establish incompatible standards of conduct for the parties
opposing the class; or

ii. Adjudication with respect to individual class members which
would as a practical matter be dispositive of the interests of the other members not parties
to the adjudication or substantially impair or impede their ability to protect their interests;

b. The parties opposing the class have acted or refused to act on grounds
generally applicable to each member of the class, thereby making appropriate final
injunctive or corresponding declaratory relief with respect to the class as a whole; or

c. Common questions of law and fact exist as to the members of the
class and predominate over any questions affecting only individual members and a class
action is superior to other available methods of the fair and efficient adjudication of the
controversy, including consideration of:

i. The interests of the class members in individually controlling
the prosecution or defense of separate actions;

ii. The extent and nature of any litigation concerning controversy
already commenced by or against class members;

iii. The desirability or undesirability of concentrating the litigation
of the claims in the particular forum;

iv. The difficulties likely to be encountered in the management of a
class action.

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VI
CLAIMS F()R RELIEF
FIRST CAUSE OF ACTION
UNLAWFUL BUSINESS PRACTICES UNDER
CALIFORNIA BUSINESS & PROFESSIONS CODE § l7200 et seq.
(Against Defendant and Does 1-10)

35. Plaintiff incorporates by reference as if fully set forth herein, each and every
allegation set forth in the preceding paragraphs and further alleges as follows

36. Defendant’s acts and practices as described herein constitute unfair and
unlawful business acts and practices in that Defendant’s practices violates California
Business & Professions Code § 22928.

37. Defendant’s unfair and unlawful business acts and practices are described
herein and include, but are not limited to, the practice of levying per diem, detention,
and/or demurrage charges on Plaintiff, and all others similarly situated, on weekends and
holidays, in violation of California Business & Professions Code § 22928.

38. Under Business and Professions Code §l7203, Plaintiff seeks an order
enjoining Defendant from engaging in the unfair and unlawful practices and acts
identified herein. Said code section also provides for equitable monetary relief so as to
preclude the retention of all monies improperly obtained by Defendant as a result of such
practices and acts

39. Plaintiff, and all others similarly situated, has been damaged by Defendant’s
unfair and unlawful conduct

40. Pursuant to California Business & Professions Code § l7200 and l7203,
Plaintiff seeks relief as prayed for below.

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CLASS ACTION COMPLAINT

 

 

 

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SEC()ND CAUSE ()F ACTI()N
BREACH oF coNTRACT
(Against Defendant and Does 1-10)

41. Plaintiff incorporates by reference, as if fully set forth herein, each and every
allegation set forth in the preceding paragraphs and further alleges as follows

42. Plaintiff, and all others similarly situated, and Defendant, at all times
relevant to this complaint, were bound by the provisions of the UllA and were signatories
thereto.

43. Plaintiff, and all others similarly situated, did all, or substantially all, of the
significant things that the UHA required it to do.

44. l Defendant failed to do something that the contract required it to do, namely
comply with all of the terms of the UHA. The UllA specifically provides the following:

G. General Terms
ll. Compliance of Law: The Parties shall obey all federal,

state and local laws, rules and re ulations including those
pertaining to the transportation o_ hazardous material

45. Defendant breached the UHA by levying per diem, detention, and/or
demurrage charges on Plaintiff and the class, in violation of California Business &
Professions code § 22928.

46. Plaintiff, and all others similarly situated, was harmed by Defendant’s
breach of contract in failing to comply with the provisions of the UllA.

VII
PRAYER F()R RELIEF

WHEREFORE, Plaintiff, on behalf of itself and all others similarly situated, prays
for the following relief:

A. For an order certifying the class and appointing Plaintiff and his counsel to
represent the class;

B. For an order awarding Plaintiff and the class compensation for economic

losses, including but not limited to, disgorgement of all unlawfully obtained per diem,

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CLASS ACTION C()MPLAINT

 

 

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detention, and/or demurrage charges in such amounts as may be proven at trial, and other
equitable relief as the Court deems proper;

C. Judgment in favor of Plaintiff and against Defendant, for damages in such
amounts as may be proven at trial:

D. For an order enjoining Defendant under California Business & Professions
Code § l7203 from engaging in business acts and practices or any of them, which are
unlawful, unfair, or fraudulent, as alleged herein;

E. Attorneys’ fees as provided for by the UHA;

F. Pre~ and post judgment interest; and

G. Any and all further relief, both legal and equitable, that the Court may deem

just and proper.

Dated: April 7 , 201 1 . MCCUNEWRiGHT LLP

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David C. Wright
Attorneys for Plaintiff

JURY DEMAND

Plaintiff, and all others similarly situated, hereby demands a trial by jury.

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David C. Wright
Attorneys for Plaintiff

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Developed By: Effective: April 14, 2011
The Intermodal Interchange »
Executive Committee

 

Administered By:

The Interrnodal Association of North America

11785 Beltsville Drive, Suite 1100

Calverton, Maryland 20705-4048

Phone: Toll-Free (877)438-UIIA (438-8442) or (301)474-8700
Fax:(301)982-3414 or (301)982-54'78 Website: WWW.uiia.org

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FORM 2
UNIFORM INTERMODAL INTERCHANGE
AND
FACILITIES ACCESS AGREEMENT

(A Program of the Intermodal Association of North America)
Participating Party Agreement

The Party named below agrees that by executing the Uniform intermodal Interchange and Facilities Access
Agreement (UIIA) it Will be bound by the provisions of the UIIA, and subsequent amendments and/or revisions of
that Agreement, and any addendum thereto, that does not conflict with the terms of this Agreement, which govern
the interchange and use of Equipment in intermodal interchange service The Provider named below agrees that in
its interchange activities with l\/lotor Carrier participants who are signatories to the Agreement, this Agreement will
be the only Agreement it will use, unless superseded in whole by a separate bilateral written agreement

This Agreement shall be effective unless cancelled in Writing, by mutual consent of the Parties, or by any
Party upon thirty (30) days prior Notice to the other Party. A copy of the required written Notice must be provided
to the President of lANA at the time it is issued. [Revised 04/11/07]

C()MPANY NAME:

 

AUTHoRizED BY: (Prini er Type)

 

 

 

 

SIGNATURE: TITLE: DATE:
BUSINESS ADDRESS:

(Mailing Address) No. Street City
State/Province Zip/Postal Code Phone No. F ax E~l\/lail
Indicate Nature of Business: Motor Carrier Provider

If Motor Carrier, please check all that apply to your business operations
l;.l For Hire l:.i Private [;l lnterstate [] lntrastate Cl Commercial Zone/Terminal Area Operator

Standard Carrier Alpha Code (SCAC):

lVfC Number: D()T Number:

Tax Identif“ication No. or Canadian Business Number:

 

Dated: By:

 

Assistant Vice President
lntermodal Information Services

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FORM 2
UNIFORM INTERMODAL INTERCHANGE
AND
FACILITIES ACCESS AGREEMENT

(A Program of the lntermodal Association of North America)
Participating Party Agreement

The Party named below agrees that by executing the Uniform l,ntermodal interchange and Facilities Access
Agreement (UHA) it will be bound by the provisions of the UllA, and subsequent amendments and/or revisions of
that Agreement, and any addendum thereto, that does not conflict with the terms of this Agreement, which govern
the interchange and use of Equipment in intermodal interchange service The Provider named below agrees that in
its interchange activities with l\/lotor Carrier participants who are signatories to the Agreement, this Agreement will
be the only Agreement it will use, unless superseded in whole by a separate bilateral written agreement

This Agreement shall be effective unless cancelled in writing, by mutual consent of the Parties, or by any
Party upon thirty (30) days prior l\lotice to the other Party. A copy of the required Notice must be provided to the
President of lANA at the time it is issued. [Revised 04/11/07]

C()MPANY NAME:

 

AUTHORIZED BY: (Print or Type)

 

 

 

 

SIGNATURE: TITLE: DATE:
BUSINESS ADDRESS:

(Mailing Address) No. Street City
State/Province Zip/Postal Code Phone No. Fax E-l\/lail

Indicate Nature of Business: l\/lotor Carrier Provider

If Motor Carrier, please check all that apply to your business operations

Cl F or Hire l;] Private C] lnterstate l;l lntrastate [l Commercial Zone/Terminal Area Operator
Standard Carrier Alpha Code (SCAC):

MC Number: DOT Number:

Tax Identification Number or Canadian Business Number:

 

The provisions of this agreement shall become effective on the date accepted by the Association of the above
named carrier and published in the list of Subscribers or supplements thereto.

By§ warsaw

Assistant Vice President
Intermodal Information Services

 

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Section B.
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Purpose

Def“initions of Terms
Premise Access
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UNIFORM INTERi\/IODAL INTERCHANGE

AND FACILITIES ACCESS AGREEMENT
A. Purpose

The Parties to this Agreement hereby acknowledge their respective responsibilities in one Party’s
access to the Premises of the other for the purpose of interchanging intermodal transportation
Equipment and further establish the terms and conditions under which such intermodal Equipinent
will be used.

B. Definition of Terms

i. Actual Cash Value: Replacement cost less depreciation as referred to on Equipment Owners’ or
Providers’ Books.

2. Addendum/Addenda: Providers’ schedule of economic and commercial terms not appropriate for
inclusion in the uniform Agreement and other terms and conditions of Equipinent use [Revised
04/11/07]

3. Agreernent: This Agreement or amendments thereto and Addendum/Addenda.

4. Container: An intermodal cargo carrying device capable of road transport when mounted on a
chassis or other suitable device [Revised 11/18/09]

5. Contamination: Damage resulting from release of a hazardous material or other substance in
Equipment which prevents subsequent use of the Equipment without removal of the material or
substance [Revised 10/22/04]

6. Damage: Any condition caused by other than normal Wear & Tear and as described in either
Exhibit B or any condition as described in Exhibit C to this Agreement. [Revised 09/01/09]

7 . Defect: Any condition (including dents scrapes cuts or missing items) that may, or may not,
require the repair, replacement or renewal of items but does not prevent the intended use of the
Equipment. [Revised 09/0109] "

8. Destroyed: Where the reasonable and customary cost to repair Equipment exceeds its Actual
Cash Value or depreciated replacement value [Revised 07/25/07]

9. Equipment: Equipment commonly used in the road transport of intermodal freight including,
trailers chassis containers and associated devices but excluding tractors [Revised 11/18/09]

10. Equipment Owner: The holder of actual or beneficial title to the Equipment, regardless of the
form of the title [Revised 04/11/07]

li. Equipment interchange Receipt (EiR): A document confirming the interchange of Equipment
between Parties to this Agreement, or their agents The physical condition of the Equipment may
be described by either Party within the EiR or via recorded images taken at the time of
interchange [Revised 04/11/07] `

l2. Facility Operator: Party Whose Premises are accessed for the purpose of effecting an interchange
between signatories to this Agreement. [Revised 02/24/06]

l3. indemnitees: Provider, Equipment Owner and/or Facility Operator, as their interest may appear.
l4. interchange The transfer of physical possession of Equipment under the Agreement.

l5. interchange Period: The period, commencing upon interchange to i\/lotor Carrier and concluding
upon interchange to Provider.

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l6. l\/iotor Carrier: The Party being granted access to the Provider’s facilities and/or having physical
possession of the Equipment for the purpose of road transport or its designated agent or
contractor

l7. Notice: A communication between Parties of this Agreement required by the terms of the
Agreement.

18. Parties: The Provider, i\/iotor Carrier and/or Facility Operator who are signatories to this
Agreement. [Revised 02/24/06]

l9. Per Diem: Charge to be paid when intermodal Equipment is not returned by the end of the
allowable free time to its origin or to another iocation, as previously agreed to by the Parties.
[Revised 07/25/07]

20. Premises: The property operated by Provider or Facility Operator for the purpose of interchange
[Revised 09/01/09]

2l. Provider: The Paity authorizing delivery and/or receipt of physical possession of Equipment with
a i\/iotor Carrier.

22. Recorded image: A date and time stamped electronic image, which depicts the physical
condition of the Equipment. [Revised 04/11/07]

23. Storage/Ocean Demurrage: Charge to be paid when intermodal Equipment is stored on property.
[Revised 07/25/07]

24. Wear and Tear: A loss or condition resulting from reasonable and normally anticipated use of
Equipment that includes deterioration Deterioration is defined as a loss or condition resulting
from the passage of time, exposure to elements and the repetitive normal and customary use of
Equipment. [Revised 11/18/09].

C. Premises Access

l. Provider and/or Facility Gperator grants to i\/iotor Carrier the right to enter upon its terminal j
facility for the sole purpose of completing an interchange of Equipment.

2. Nothing in this Agreement shall preclude Provider or Facility Operator from refusing access to a
l\/iotor Carrier for good cause shown. Provider or Facility Operator shall exercise this right in
good faith, providing to l\/iotor Carrier a written statement of the reason for its action by
registered mail, e-mail or confirmed facsimile no less than three (3) business days prior to the
suspension [Revised 11/08/10]

D. Equipment interchange
l. Notification of Equipment Availability

a. if Provider and/or Facility Operator undertakes to notify l\/lotor Carrier of Equipment
availability, it represents that the Equipment will be available for interchange when the i\/iotor
Carrier arrives [Revised 09/01/09]

b. Where it is notified, as provided herein, l\/iotor Carrier must interchange Equipment promptly
upon notification l\/iotor Carrier will be responsible to Provider for the charges as may be
described in Provider’s Addendum hereto, in the event i\/iotor Carrier fails to remove
Equipment during the free time provided in the Addendum.

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2, Equipment interchange Receipts

a. At the time of interchange the Parties or their agents shall execute an Equipment interchange
Receipt and/or exchange an electronic receipt equivalent, which shall describe the Equiprnent
and any Damage observable thereon at the time of interchange reasonable Wear and Tear
excepted The physical condition of the Equipment may be described by either Party within
the EiR or via Recorded images taken at the time of interchange [Revised 05/12/10]

b. Each Party shall be entitled to receive a copy and/or an electronic receipt equivalent of the
Equipment interchange Receipt as described in D.2.a above {Revised 04/11/07]

c. if Recorded images are taken at the time of interchange Damage will not be reported on
ingate or outgate EiR. The words “Damage is captured on Recorded images” will be printed
on the Equipment interchange Receipt. All such Recorded images will be made available for
each Party for a period of i year from interchange [Revised 05/12/10]

3. Equipment Condition

a. Warranty: WHILE PARTIES MAKE N() EXPRESS OR IMPLIED WARRANTY AS
TO THE FITNESS OF THE EQUIPMENT, T.HEY RECOGNIZE AND AFFIRM
THEIR RESPONSIBILITIES UNDER THE FEDERAL MOT()R CARRIER SAFETY
REGULATIONS.

l) l\/lotor Carriers will conduct a pre-trip inspection prior to departing with interchanged
Equipment that will include those items set forth in Exhibit A to this Agreement.
[Revised 01/17/05]

b. Equipment controlled by Provider shall have a valid FHWA inspection sticker. Provider will
reinspect and recertify the Equipment, at i\/iotor Carrier’s request, if the existing inspection
will expire during the Addendum free time period of the l\/iotor Carrier’s use

c. i\/iotor Carrier will reinspect and recertify the Equipment if the existing inspection will expire
prior to the l\/iotor Carrier’s return of the Equipment to the Provider

d. i\/iotor Carrier will return the Equipment to the Provider in the same condition, reasonable
Wear and Tear excepted

i) The responsibility for the repair and/or replacement of equipment items during the
interchange Period are listed in Exhibits B and C of this Agreement. [Revised 07/25/07}

2) l\/iotor Carrier and Provider will not issue an invoice for repair items equal to or less than
850 per unit per interchange Period. Provider may, in its Addendum, adopt a different
threshold amount as long as that amount is greater than 850 and applies to both l\/iotor
Carrier and Provider. [Revised 07/25/07]

3) in any disputes arising in connection with classification of Wear and Tear, the
Association of American Railroads TOFC/COFC interchange Rules, Sections B, G, and
F, shall be the controlling document

E. Equipment Use

l. Absent a separate bilateral agreement in written or electronic form between the Parties, the l\/lotor
Carrier shall use the Equipment for only the purposes for which it was interchanged, not authorize
use by others and promptly return the Equipment after its interchange purpose is complete The

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l\/lotor Carrier shall return the Eq uipment to the physical location at which the Equipment was
received unless the Provider directs the Equipment to be returned to satellite locations as
governed by l) a written bilateral agreement between the Parties or 2) a notification from the
Provider to the l\/iotor Carrier via internet posting, e-mail, or shipping order. Satellite location(s)
are facilities which are within the same local commercial territory and support operations of the
Provider for the location from which the Equipment was originally received Whenever a return
location is changed, Provider must notify the i\/iotor Carrier by e-mail by l6:00 p.in. local time
the business day prior to the change becoming effective l\/iotor Carrier must furnish the Provider
with e-mail addresses to be used for i\/iotor Carrier notification when return locations are
changed

An Addendum to this Agreement does not constitute a separate bilateral agreement [Revised
11/18/09]

2. Lost, Stolen, or Destroyed Equipment

a. in the event the Equipment is lost, stolen from, or Destroyed by l\/iotor Carrier, the method of
settlement shall be the Actual Cash Value or the depreciated replacement value as agreed
between the Parties. [Revised 09/01/09]

b. in the event l\/iotor Carrier is compelled to compensate Provider for loss or damage to
Equipment due to the acts of third parties Provider will assign to i\/iotor Carrier its rights
against such third party upon receiving payment in full from i\/iotor Carrier.

c. Wheii Equipment is lost, stolen or Destroyed, the l\/lotor Carrier and Provider will follow the
notification and invoicing processes as set forth iri the Provider’s Addendum. if the
Provider’s Addendurn does not contain notification and/or invoicing processes for lost,
stolen, or Destroyed Equipment, the following will apply:

l\/iotor Carrier shall promptly notify Provider when Equipment is lost, stolen, or Destroyed.
Provider shall within thirty (30) days after receipt of such notification, secure and furnish to
the l\/iotor Carrier a written statement of the depreciated replacement value or Actual Cash
Value of the Equipment, as agreed between the parties [or as set forth in Provider’s
Addendum]. l\/iotor Carrier shall pay Provider the amount specified in the written statement
within (30) days of the date of such written statement [Revised 09/01/09]

d Provider will notify i\/iotor Carrier within l8 months from the date of interchange if
Equipment is declared lost, stolen or Destroyed. if Provider does not so notify l\/iotor Carrier,
the right to recover any associated charges or Actual Cash Value will be lost. [Revised
09/01/09]

3. Damage to Equipment

a. l\/iotor Carrier shall pay to Provider the reasonable and customary costs to repair Damages
done to Equipinent during l\/lotor Carrier’s possession [Revised 09/01/09]

l) To be valid, invoices must detail the repairs done; include a copy of the actual repair bill
upon which the invoice is based and include the factual documentation supporting the
Provider’s determination that the i\/lotor Carrier is responsible in instances where a copy
of the actual repair bill is not available to Provider, documentation containing the repair
vendor’s name repair date location and a control number that ties the documentation to
the invoice provided to the i\/iotor Carrier is acceptable in lieu of the actual repair bill. in
the case of AGS gate transactions such documentation must include images depicting the

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condition of the Equipment at the time the i\/lotor Carrier to be charged both accepted and
returned the Equipment. [Revised 09/01/09]

b, Where the reasonable and customary cost to repair exceeds the casualty loss value as
determined in Section E,2.a hereof, the i\/iotor Carrier shall be obligated only for the lesser
suin.

c. Provider shall invoice l\/iotor Carrier no later than the following timeframes: if l\/iotor Carrier
is not invoiced within the established timeframes, the right of the Provider to recover such
charges will be lost: [Revised 11/05/08]

l) Standard Gate System (manned): Not later than 165 calendar days
2) AGS Gate System (unmanned): Not later than l20 calendar days following the
interchange transaction giving rise to the bill.

4. Tires

a. Repair of Damage to tires during l\/lotor Carrier’s possession is the sole responsibility of
i\/iotor Carrier, based on prevailing reasonable and customary repair costs and equipment use
[Revised 09/01/09]

b. Repair of tires unrelated to Damage occurring during Motor Carrier’s possession is the sole
responsibility of the Provider, based on prevailing reasonable and customary repair costs and
equipment use [Revised 09/01/09]

5. Disposal of Dunnage

a. i\/iotor Carrier shall return Equipment with all dunnage bracing, contaminants and debris
removed and the floor swept.

6. Free Days and Use Charges

a. interchange of Equipment is on a compensation basis Provider may permit some period of
uncompensated use and thereafter impose use charges as set forth in its Addendum.

b. l\/iotor Carrier shall be responsible for use and/or storage charges set forth in the Addenda.

c. Provider shall invoice l\/iotor Carrier for use and/or storage charges within sixty (60) days
from the date on which Equipment was returned to Provider by l\/lotor Carrier. if i\/iotor
Carrier is not invoiced within the established timeframe, the right of the Provider to recover
such charges will be lost. [Revised 11/05/08]

d. Provider shall provide the i\/lotor Carrier documentation as is reasonably necessary to support
its invoice

e. l\/iotor Carrier shall respond in writing to Provider’s invoices within thirty (30) days
documenting with appropriate evidence its disagreement with any of Provider’s invoices it
believes to be incorrect

f. l\/iotor Carrier will participate in good faith in Provider’s established method of dispute
resolution, as set forth in its Addendum.

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F. Liability, indemnity, and insurance

l. Fines citations l\/iotor Carrier shall pay all fines arising out of its acts or omissions in the
operation of Equipment during the interchange Period.

a. l\/iotor Carrier will provide a corrected copy of Equipment-related citations to Provider upon
completion of interchange

2. independent contractor status: No Party or its agents is the employee or agent of any other Party.

3. if the Equipment is interchanged by l\/iotor Carrier or is otherwise authorized by l\/lotor Carrier to
be in the possession of other parties the l\/lotor Carrier shall be responsible for the performance of
all terms of this Agreement in the same manner as if the Equipment were in the possession of the
l\/lotor Carrier, unless the written consent of Provider has been obtained

4. indemnity:

a. Subject to the exceptions set foith in Subsection (b) below, i\/iotor Carrier agrees to defend,
hold harmless and fully indemnify the indemnitees (without regard to whether the
indemnitees’ liability is vicarious implied in law, or as a result of the fault or negligence of
the indemnitees), against any and all claims suits loss damage or liability, for bodily injury,
death and/or propeity damage including reasonable attorney fees and costs incurred in the
defense against a claim or suit, or incurred because of the wrongful failure to defend against a
claim or suit, or in enforcing subsection F.4 (collectively, the~“Damages”), caused by or
resulting from the l\/lotor Carrier’s: use or maintenance of the Equipment during an
interchange Period; and/or presence on the Facility Operator’s premises [Revised 01/17/05]

b. Exceptions: The foregoing indemnity provision shall not apply to the extent Damages: (i)
occur during the presence of the i\/iotor Carrier on the Facility Operator’s premises and are
caused by or result from the negligent or intentional acts or omissions of the indemnitees
their agents employees vendors or third party invitees (excluding lndemnitor); or (ii) are
caused by or result from defects to the Equipment with respect to items other than those set
forth in Exhibit A, unless such defects were caused by or resulted from the negligent or
intentional acts or omissions of the l\/iotor Carrier, its agents employees vendors or
subcontractors during the interchange Period. [Revised 1/17/05]

5. i\lotice of Filed Claims:

a. i\/iotor Carrier shall promptly notify Provider, Equipment Owner and/or Facility Operator of
any claim arising against l\/lotor Carrier under Section F.4, and shall also advise Provider,
Equipment Owner and/or Facility Operator at that time of the legal defense undertaken
regarding that claim. Failure of the i\/iotor Carrier to timely provide such legal defense and
the undertaking of that legal defense by Provider, Equipment Owner and/or Facility Operator
to protect such Paity’s respective interests shall result in the i\/lotor Carrier’s bearing such
reasonable attorney fees and costs incurred by the Provider, Equipment Owner and/or Facility
Operator in providing such legal defense

b. Provider, Equipment Owner and/or Facility Operator shall promptly notify i\/iotor Carrier of
any-claim arising under Section F.4. which Provider, Equipment Owner and/or Faciiity
Operator receives Provider, Equipment Owner and/or Facility Operator shall not undertake
any legal defense of or incur any legal expenses pertaining to the claim submitted to the
l\/iotor Carrier, unless i\/iotor Carrier fails to timely do so as provided in Section 5.a.

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6. insurance: To the extent permitted by law, l\/lotor Carrier shall provide the following insurance
coverages in fulfillment of its legal liability and obligations contained in this Agreement:

a. A commercial automobile insurance policy with a combined single limit of 81,000,000 or
greater, insuring all Equipment involved in interchange including vehicles of its agents or
contractors said insurance policy shall be primary to any and all other applicable insurance
and shall name the Provider as additional insured The extent of Providers’ additional insured
status is limited to the provisions of Section F.4 hereof [Revised 09/01/09]

b. A commercial general liability policy with a combined single limit of 81,000,000 per
occurrence or greater, of which no portion can be self~insured. [Revised 04/11/07]

c. l\/lotor Carrier shall have in effect, and attached to its commercial automobile liability policy,
a Truckers Uniform intermodal interchange Endorsement (UiiE-l), which includes the
coverages specified in Section F.4. l\/iotor Carrier shall use endorsement form UiiE-l (or
other corresponding forms which do not differ from UiiE-l) in the most current form
available to the insurance carrier. Evidence of the endorsement of the policy and the coverage
required by this provision shall be provided to iANA by the insurance company.

d. iANA shall receive a minimum of thirty (30) days advance Notice of any cancellation of such
coverages

7. The Provider agrees that it will obtain all information concerning i\/iotor Carrier Certificates of
insurance from the intermodal Association of North Ainerica, and that additional evidence of
insurance will not be requested from l\/iotor Carrier Participants.

G. General Terms

l. Entire Agreement: This Agreement, including its Addendum, but only to extent that its terms do
not conflict with this Agreement, contain the entire Agreement between the Parties hereto. This
Agreement supersedes all prior agreements and understandings oral or written, if any, between
the Parties except as contained herein. No modification or amendment of any of the terms
conditions or provisions herein may be made otherwise than by written Agreement signed by the
Parties. [Revised 04/11/07]

This Agreement shall apply unless it is superseded in whole by a separate bilateral written
contract

2. Headings: The headings contained in this Agreeinent are for reference purposes only and shall not
affect in any way the meaning or interpretation of this Agreement.

3. Waiver: The terms or conditions of this Agreement may be waived at any time by the Party
entitled to the benefit thereof, but no such waiver shall be effective unless the same is in writing
and no such waiver shall affect or impair the right of the waiving Party to require observance
performance or satisfaction either of that term or condition as it applies on a subsequent occasion
or of any other term or condition hereof The waiver by any Party of a breach of any provision'of
this Agreement shall not operate or be construed as a waiver of any subsequent breach of the
same or any other provision of this Agreement by either Party.

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4. l\/iaterial Breach: if it is determined that7 at the time of interchange the l\/lotor Carrier was not
insured in accordance with Section F. 6. of this Agreement the i\/lotor Carrier shall have been in
material breach of this Agreement and the Agreement shall, subject to the suivivability provisions
hereof terminate immediately pursuant to Section G. l6

With the exception of Section G.4., no breach of this Agreement, either by an individual i\/iotor
Carrier or by an individual Provider/Facility Operator, shall affect the rights and obligations of
that l\/iotor Carrier or Provider/Facility Operator with all other Parties hereto.

5. Assignment: No Party shall assign this Agreement or any part hereof without the written consent
of the other Parties provided that no such consent shall be required in the event of Provider’s
assignment to a successor-in-interest as a result of a merger or sale of substantially all of
Provider’s assets

Except as otherwise provided herein, this Agreement shall be binding upon and inure to the
benefit of the Parties hereto and their respective successors and permitted assign

6. No Third Party Beneficiaries: Except as expressly provided herein, nothing in this Agreement
shall entitle any person other than the Parties or their respective successors and mutually accepted
assigns to any claim, cause of action, remedy or right of any kind [Revised 04/11/07]

7. Governing Law: The laws of the state of i\/iaryland, the location at the principal place of business
of the intermodal Association of North America shall govern the validity, construction,
enforcement and interpretation of this Agreement without regard to conflicts of law principles

8. Venue: Any action which may be brought to enforce or interpret this Agreement shall be brought
in a trial court of competentjurisdiction as follows:

a. As to questions of interpretation or enforcement of the Agreement, at the location of the
principal place of business of the intermodal Association of North America;

b. As to questions of indemnification under the Agreement at the situs of the transaction giving
rise to the requested indemnification;

c. As to monetary obligations between the Parties by reason of Equipment usage charges at the
situs of the transaction giving rise to the requested damages

d As to monetary damages between the Parties arising out of physical damage to or loss of
Equipment, at the situs at which the Equipment was last interchanged prior to such loss or
damage

9. Severability: if any one or more of the provisions contained in this Agreement shall for any
reason be held to be invalid, illegal or unenforceable in any respect, such invalidity, illegality or
enforceability shall not change or invalidate any other provisions hereof

10. Survival: Cancellation of this Agreement notwithstanding i\/lotor Carrier shall remain obligated
to return Equipment provided hereunder and otherwise perform its obligations outstanding at the
time of cancellation

l l. Compliance of Law: The Parties shall obey all federal, state and local laws rules and
regulations including those pertaining to the transportation of hazardous material.

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Force l\/lajeure: in the event the l\/iotor Carrier is unable to interchange Equipment to Provider
within the free time as specified in Provider’s Addendum, or Provider’s applicable Tariff, as a
result of Acts of God, war, insurrections strikes fire flood or any like causes beyond the l\/iotor
Carrier’s control, the i\/iotor Carrier shall be exempted from the per diem charges to the extent of,
and for the duration of, the condition that prevented the redelivery of the Equipment. [Revised
09/13/04] ’

Attorney’s Fees: Should any action be brought by either Party to enforce or for the breach of any
other terms covenants or conditions of this Agreement, either Party shall be entitled, if it shall
prevail, to recover reasonable attorneys’ fees together with the cost of the suit therein incurred

Notices:

a. The Provider agrees to provide ten (10) days written Notice to the l\/iotor Carrier of any
changes to the terms or conditions of its Agreement Addendurn. The effective date of any
change shall be no less than thirty (30) days from the date of notification to i\/iotor Carrier.
[Revised 06/02/05]

b. Notices required under this Agreement from i\/lotor Carrier to Provider, or from Provider to
l\/lotor Carrier, shall be in writing and sent via e-mail, by confirmed facsimile or by first class
mail, postage paid, and properly addressed to iANA. Alternatively, such written Notice can
be personally served, sent by registered or certified mail, postage prepaid or by a national
overnight courier or delivery service properly addressed to the individual shown in the UiiA
subscriber record Either Party, at any time may change its address by written Notice to
iANA via e-mail, fax or mail. The earlier of (i) the date of receipt or (2) three days after the
date such written Notice is given in accordance with this Paragraph shall constitute the initial
date of Notice in computing the elapsed time as specified in any Notice requirement in this
Agreement. [Revised 05/12/10]

c. in the event it becomes necessary for the Provider to suspend a l\/lotor Carrier‘s interchange
privileges for non-payment of outstanding invoices Provider shall notify i\/lotor Cai‘rier, via
confirmed facsimile e-mail or letter, no less than 3 business days prior to suspension, that
unless the outstanding issue is resolved, suspension of interchange privileges may occur. The
final notification shall include contact information necessary for the l\/lotor Carrier to resolve
the outstanding issue [Revised 04/26/05]

l\/Iultiple Counterparts: The Agreement may be executed in a number of identical counterparts
each of which for all purposes is to be deemed an original, and all of which constitute
collectively, one Agreement; but in making proof of this Agreement, it shall not be necessary to
produce or account for more than one such counterpart

Term: This Agreement shall be effective for a period of one year from its execution and shall
continue in effect thereafter for consecutive one year terms unless cancelled in writing, by
consent of the Parties or by any Party upon thirty (30) days prior Notice to the other Party or to
the President of lANA.

A Party whose participation in the Agreement has been cancelled for nonpayment of the iANA
Administrative Service Fee may not assert any rights under this Agreement for any interchange
undertaken during the period of the cancellation

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The absence of insurance as required in Section F.6. hereof shall effect immediate cancellation of
the l\/lotor Carrier’s rights under this Agreement until such time said requirements are again
satisfied

Notwithstanding any other provisions of this Agreement, the obligations and rights of the Parties
under Section F.l, 4, 5, and 6 shall survive any cancellation of this Agreement.

H. Default Dispute Resolution and Binding Arbitration Processes

l.

ln absence of a dispute resolution process contained in the Provider’s Addendum that establishes
timeframes for signatories to the Agreement to dispute invoices and respond to the dispute
with respect to per diem or maintenance and repair invoices, the following default dispute
resolution process will apply:

Invoiced Party shall advise Invoicing Party in writing of any disputed items on invoices within
30 days of the receipt of such invoice(s). Invoicing Party will respond in writing to such
disputed items within 30 days of receipt of Invoiced Party’s notice. The Invoiced.Party

will have 15 days from the date of the Invoicing Party’s response to either pay the

claim(s) or seek arbitration. Such disputes do not constitute valid grounds for withholding or
delaying payments of undisputed charges as required by the Terms of this Agreement. [Revised
04/14/11]

Should no resolution be reached between the Parties for charges disputed within the
applicable dispute resolution process, then the Parties will have the ability to submit the
disputed charges for binding arbitration in accordance With Exhibit D of the Agreement.
The arbitration panel will determine the Party responsible for payment based on the terms
and conditions of the Agreement and the Provider’s Addendum along with the supporting
documentation presented by the involved Parties.

If a Provider’s Addendum contains a dispute resolution process that does not include an
arbitration provision, then the terms under Exhibit D to the UIIA will apply. [Revised
04/14_/11]

Should Invoiced Party fail to dispute an invoice relating to per diem or maintenance and
repair charges within 30 days after receipt of the invoice the Invoiced Party will lose any
further right to dispute the invoice under the Invoicing Party’s initial dispute process, or in
absence of a dispute resolution process in the Provider’s Addendum, the default dispute
resolution process in Section H.l. Further, the Invoiced Party, upon failing to dispute the
invoice or seek arbitration within the prescribed timeframe, immediately Will be responsible
for payment thereof to the Invoicing Party and will lose its right to pursue binding
arbitration under Exhibit D of the Agreement or assert any other defense against the
invoice. [Revised 04/14/11]

Should the Invoicing Party fail to respond to the Invoiced Party’s dispute of an invoice
relating to per diem or maintenance and repair charges within the established timeframes
in the Provider’S Addendum, or in absence of a dispute resolution process in the Provider’s
Addendum, the default dispute resolution process in Section H.l., the Invoicing Party will
lose its right to collect such charges and its ability to pursue binding arbitration under
Exhibit D of the Agreement. [Revised 04/14/11]

If any dispute between Invoiced Party and Invoicing Party has not been submitted to
binding arbitration as described in this section, and in the event that charges have been
verified by Invoicing Party and are again rejected and disputed by Invoiced Party for

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whatever reasons, Invoicing Party and Invoiced Party reserve their rights and remedies
under the law regarding the payment of such charges. Further, the Parties may pursue any
rights and remedies they may have under the law to enforce an award of the arbitrators
made under this Agreement and Exliibit D, or under the terms of the Provider’s
Addendum. [Revised 04/14/11]

Execution Clause

This Agreement shall be binding upon all Parties, and of full force and effect, at the time of its
signing by a duly authorized official of a Party and its acceptance by lANA. An authorized official’s

signing constitutes the executing Party’s representation that the executor possesses such
authorization

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Apperidix l

ADMlNlSTRATi\/E PROCEDURES
i. Administration and implementation

A. The intermodal interchange Executive Committee (hereinafter called the “Committee”), a
Standing Committee of the intermodal Association of North America, is responsible for the
administration and interpretation of the Agreement, and for the processing of changes and/or
modifications to the Agreement. [Revised 04/06/()5]

B. The Chairperson of the Committee shall be the President of the intermodal Association of North
America, who shall serve without voting privilege The President is responsible for the
Administration and l\/ianagement of lANA and the Agreement, as provided in lANA’s bylaws.

l. iANA’S sole responsibility is to accurately report any information, as provided that is
required for participation in this Agreement. [Revised 04/20/09]

C. The Committee shall consist of a minimum of two representatives from each mode representing
Motor, Ocean and Rail Carriers participating in the Agreement, with an equal representation of
each mode. Each representative shall name his or her alternate from their respective mode who
shall participate in Committee meetings and serve as the voting member in the absence of the
principal representative Representatives and their alternates must be from companies that are
current signatories to the Agreement. Attendance at meetings is limited to voting members and
their alternates if Committee members wish to have an industry representative invited to attend a
meeting in an advisory capacity, the majority of the Committee must approve of this invitation
prior to it being delivered [Revised 04/11/07]

D. To conduct business under the iANA Agreement, a quorum shall consist of the Chairperson and
at least two Committee representatives from each involved industry mode or segment

E, items to be included on the Agenda for any regularly scheduled meeting of the Committee must
be provided in writing, to the Chairperson, at least forty-five (45) days in advance of the meeting
date. Agenda items received less than 45 days prior to a regularly scheduled Committee meeting,
will be placed on the Agenda under Other Business, and will be discussed, time permitting
[Revised 04/06/05]

F. The duties of the Chairperson, shall consist of the following:

l. The Chairperson shall be responsible for the day-to-day management of the interchange
program, including marketing and promoting the Agreement among the various segments of
the industry; retaining the originals of the signed Uniform intermodal interchange and
Facilities Access Agreements or amendments thereof; and exchanging information with
Committee members concerning new signatories

2. The Chairperson shall maintain a current list of the Parties to the Agreement and shall
periodically identify newly terminated participants

3. The Chairperson shall disseminate pertinent information on participating l\/iotor Carriers to
Providers in a method mutually agreed to by Providers and the iANA. Entry by new
participants to the Agreement shall become effective on the date the Agreement is accepted
by the Chairperson as being in compliance

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4. Committee members will be provided with the meeting Agenda and appropriate backup
materials, at least thirty (30) days in advance of any regularly scheduled meeting [Revised
04/06/05]

G. ln the absence of a definitive process within these Administrative Procedures, all meetings shall
be conducted in accordance with Roberts Rules of Order. [Revised 04/06/05]

ii. Review Procedures for New or Revised Providers Addenda

A. The appropriate modal Committee members will review the Addenda for new Providers and
revisions to Addenda for existing Providers. These Committee members will determine whether
the Addenda language is consistent with the existing provisions of the Agreement. Economic
terms and those commercial terms that are not appropriate for consideration within the UilA
which are included in the Addenda are not reviewed [Revised 04/11/07]

B. A new or existing Provider shall submit Addendum language to the Chairperson of the
Committee a minimum of ninety (90) days prior to the effective date of the Addendum. Within
ten (l()) working days after receipt of new or revised Addendum language the Chairperson shall
forward, through facsimile transmission or mail, and/or by e-mail, a copy of the proposed
Addendum language and an evaluation by iANA staff of the conformance of such language with
the Agreement to Committee members representing the affected mode(s). Economic or
commercial terms will be deleted from the Addendum before forwarding to the Committee
members [Revised 04/06/05]

C. l\/iodai Committee members shall review the Addendum language and submit any comments, in
writing, to the Chairperson of the Committee within fifteen (l 5) working days of their
confirmation of receiving the new Addendum language and [Revised 04/06/05]

l. in the absence of the submission of any adverse comments from the modal Committee
members conducting the review, the new or revised Addendum will become effective on the
proposed effective date. [Revised 11/01/06]

2. if any modal Committee member questions Addendum language as being in conflict with the
Agreement, a conference call shall be held between the Committee members conducting the
review, the Provider submitting the Addendum language in question, and a designated lANA
staff member. The purpose of the call will be to discuss the specific provisions in question
and shall be held within fifteen (l5) working days after the timeframe for Committee review
has expired [Revised 11/01/06]

a) if a majority of the rnodal Committee members participating in the meeting or conference
call determine that the Addendum language conflicts with the Agreement, the Provider
will be requested to modify or delete the specified Addendum language if such revisions
responsive to the Comrnittee’s determination are made the Addendum will become
effective on the proposed effective date. in the event the Provider refuses to modify the
Addendum language participation in the Agreement will be declined Regarding
modifications to existing Addenduin language Provider will be requested to modify or
delete the involved Addendum language and will be provided a ten (l O) day comment
period to respond to the Committee’s determination Refusal by a Provider to adopt the
language modifications will result in the termination of participation in the Agreement.

if a “simple” majority of the modal Committee members participating in the meeting or

conference call do not agree on acceptance or denial of the addendum language the
Addendum language in question, will be denied [Revised 04/06/05]

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b) lf a majority of the Committee members participating in the meeting or conference call
do not agree that the Addendum language conflicts with the Agreement, the Addendum
will become effective on the proposed date.

3. Once Addendum language is approved by tlie inodal Committee members, with the exception
of the discovery of a material mistake regarding the consistency of an Addendum provision
with the UllA, no additional requests from Committee members for modifications to the
approved language in the Addendum will be entertained for a period of six months from the
effective date of the Addendum. [Revised 04/11/07]

lll. Requests for lnterpretation of Agreement Provisions

A. Requests for interpretations of the Agreement shall be handled initially by informal ruling of the
Chairperson in consultation with Committee members representing the industry segments
involved lANA’s General Counsel will serve as legal advisor for such consultations Such
interpretations shall be limited to applicability or consistency with existing provisions in the
Agreement and/or Provider’s Addenda. [Revised 04/20/09]

The Party seeking an interpretation shall submit its request in writing to the Chairperson of the
Committee, who within seven (7) working days of receipt, shall send a copy to any other party
involved in [the particular instance prompting] or known to support the request Such party shall
submit to the Chairperson within seven (7) working days a statement of its position on the matter.
The Chairperson shall disseminate both the original request for interpretation and any statements
provided by other parties to Committee members representing the involved industry Paities
within five (5) working days of receipt The rnodal Committee members shall provide the
Chairperson with their comments regarding the request for interpretation within ten (l 0) working
days from receipt of information provided by Chairperson. [Revised 04/()6/05]

B. The Chairperson shall promptly advise the Paity(ies) by facsimile or mail, of the modal
Committee members’ action on the requested interpretation within five (5) working days. Should
the interpretation rendered by the modal Committee members following consideration and
determination not be agreed with by the Party(ies) participating in the requested changes or
modification, or commenting on the proposed language such Party(ies), upon a demonstration of
new information or previous information not considered or other provisions in the Agreement
supporting the proposed language or changes, may request an interpretation by the full
Committee. The Committee shall within fifteen (l 5) working days of request either (l) confirm
the determination of the Chairperson. and the inodal representatives who made the initial
interpretation, (2) render a revised interpretation, or (3) decline further comment because good
cause has not been shown for reconsidering the initial interpretation [Revised 04/(}6/05]

C. ln cases of interpretations which affect Parties other than those involved in a particular request, or
whose outcome involves a substantive change in the terms of the Agreement, the Chairperson
shall prepare and serve Notice thereof on all Parties via first class U.S. mail.

lV. Requests for l\/loditications to the Agreement.
A. The full Committee shall be responsible for considering requests for changes to the Agreement.
Such requests shall be submitted in writing to the Chairperson and may be filed by any Party that

is a participant in the Agreement. The Chairperson shall transmit the request to the full
Committee for consideration at its next scheduled meeting [Revised 04/11/07]

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B. The Committee shall consider requests for modification at the next scheduled meeting of the
Committee at which a quorum is present and promptly advise petitioner of its decision and
reason(s) for that action A proposed change to the Agreement will require a three-fourths (3/4’s)
majority vote of those Committee members in attendance at which a quorum is present [Revised
05/12/10]

V. Notice of Proposed l\/Iodifications to the Agreement and Comment Process

A. lf the Coinmittee votes to propose modifications to the Agreement, the Chairperson shall provide
Notice in writing and by posting on lANA website within ten (lO) working days of the Committee
vote of the proposed language and effective date of the modifications to all Participants in the
Agreement. UllA Participants shall have thirty (30) days from the date of this notification to provide
comments on the proposed change Comments must be submitted in writing to the Chairperson, who
shall transmit the comments to the full Committee for consideration within ten (l()) working days
after the close of the thirty (3()) day comment period The Committee shall consider comments, if
received, and vote to approve the proposed modification(s) within fifteen (15) working days from
receipt of comments provided by Chairperson. lf a proposed change to the Agreement is not
approved by a three~fourths (3/4’s) majority vote of those Committee members in attendance at
which a quorum is present, the proposed modification will fail. [Revised 05/]2/10]

Notice of the Committee’s final decision will be provided to all Paities within five (5) working days
from the close of the period to receive comments from the Committee and the proposed effective
date of any changes shall not be less than fifteen (l$) days from this date of notification [Revised
04/06/05]

B. Staff will review existing Addenda for consistency with the approved modification(s). lf changes are
required, the Paities must do so within 30 days of this notice of that requirement, and submit the
revised Addenda to lANA. [Revised 05/12/10]

Vl. Prerequisites for Participation

A. Parties seeking to participate in this Agreement must first provide to IANA, its officially*
registered Standard Carrier Alpha Code (SCAC) as issued by the National l\/lotor Freight Traffic
Association, the cost of which shall be borne by the prospective Agreement participant Failure of
the participant to maintain its officially-registered SCAC shall constitute grounds for immediate
cancellation of its participation in the Agreement and related Addendum/Addenda.

B. Parties to this Agreement shall maintain facsimile and electronic communications capabilities on
a 24 hour per day, 7 days per week, basis. Failure to provide such communication capabilities can
result in the cancellation of this Agreement and related Addendum/Addenda. [Revised 04/11/07]

C. Upon demand, l\/lotor Carrier shall furnish to the intermodal Association of North America
(lANA), the insurance policies required under this Agreement and/or any participating Equipment
Provider’s Addendum. Failure of the l\/iotor Carrier to furnish said policy(ies) on demand shall
constitute a breach of this Agreement, and shall be cause for immediate cancellation of the l\/lotor
Carrier’s Agreement.

D. Companies “Doing Business As” another entity will be listed in the UllA database and in other
appropriate documents, by the company name as placarded and/or stenciled on the interchange
Equipment. Certifrcates of insurance must clearly identify said company as having all insurance
coverages as required under the Agreement and/or any participating Providers’ Addenda.
[Revised 09/01/09]

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E. l\/lotor Carriers must maintain a US DOT Number and, if applicable an active l\/lotor Carrier
operating authority number (l\/lC Number). [05/12/10]

Vll. Party’s Right to Terminate Participation

A. Any party desiring to terminate participation in this Agreement, as subsequently revised or
supplemented, shall so notify the Chairperson, in writing, by Certified mail, prior to the effective
date of the modification Tlie absence of such notification will constitute acknowledgement of the
Party’s intent to continue to participate in the revised or supplemented Agreement.

Vlll. Compliance with the Agreement [Revised 11/01/06]

A. Parties to this Agreement agree to be bound by the provisions of the UllA, and subsequent
amendments and/or revisions of that Agreement, and any addendum thereto, that does not conflict
with the terms of this Agreement.

B. Violations to this Agreement, upon verification by IANA, will be reported to the Party
committing the violation, by the Chairman of the llEC, with a request to correct the action(s) that
are not in compliance

C. Parties that repeatedly violate the provisions of this Agreement may face cancellation of their
participation in the UllA.

~Reorganized and Revised

By intermodal lnterchange Executive Committee; June l9, 2000
Revised: April l4, 2011

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Exhibit A to UHA
As referenced in Sections D.3.a.1 and F.4.b,
(Added to UIIA 1/17/08)

The following list sets forth those items, which the Motor Carrier has responsibility for visually or audibly checking prior to use
of the Equipment:

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Chassis Twist Locks and Safety Latches ~ (Check that twist locks and safety latches are engaged and properly
secured.)

Slider Pins ‘ (Check that slider pins are engaged for all sliding chassis.)

Bolsters (Check that bolsters are not bent and the container can be secured properly.)

Landing Legs (Check that Landing legs are in 90 degree position and they move up and down properly,)

Sand Shoes (Check that sand shoes or dolly wheels are attached to landing legs and secure.)

Crank Handles (Check that handle is attached, secure and operable to move landing legs up and down.)

l\/lud Flaps ~ (Check that mud flaps are whole and properly secured.)

Tires (Check that the following conditions are not present.)

a. Tire is flat, underinflated or has noticeable (e.g., can be heard or felt) leak.

b. Any tire with excessive wear (2/32nds or less thread depth), visually observable bump, or knot apparently related
to tread or sidewall separation

c. Tire is mounted or inflated so that it comes in contact with any part of the vehicle (This includes any tire
contacting its mate in a dual set.)

d. Seventy~five percent or more ofthe tread width is loose or missing in excess of 12 inches (300m) in
circumference

Rims (Check that rims are not cracked and/or bent.)

Rear Underride Guard (“ICC Bumper”) (Check that Guard is in place and not bent under the frame.)

Electrical Wiring/Lights ~ (Check that lights are in working order.)

Reflectors/Conspicuity Treatments (Check for reflector lenses and presence of conspicuity tape or bar on the 3 visual
sides of the chassis.)

Brake Lines, Iricluding Air Hoses and Glad Hands ~ (Check for audible air leaks and proper pressurization only.)
Current License Plate (Check to see that it is affixed to equipment.)
Proper Display of Hazardous Cargo Placards, ln Accordance with Shipping Papers

Display of Current Non-expired Federal Placards or Stickers (Check to see that it is affixed to equipment.)

The foregoing list does not include latent defects unless caused by or resulting from the negligent or intentional acts or
omissions of the l\/lotor Carrier, its agents, employees, vendors or subcontractors during the lnterchange Period. The foregoing
list is without limitation of any federal or state legal requirements applicable to l\/lotor Carrier with respect to use or operation
oquuipment. [Revised 1/17/05] '

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Exhibit B to UIIA
Equipment Owners Responsibiiity
(added to UIIA on 07/25/07, Last Revised 4/20/09)

Repairs made to any item listed in Exhibit B that were a result of damage and not normal Wear and Tear, are the
responsibility of the l\/iotor Carrier.

Application for registration papers
Application ofvehicle license plates

Axle due to insufficient lubrication

Axle spindle due to insufficient lubrication
Axles

Battery Box Covers

Brake adjustments on trailers or chassis (1) (2)
Brake and brake component repairs (3)
Broken Batteries

Caulking/Sealing of Old Patches
Caulking/Seaiing of Seams

Cleaning and adjustment of electrical connector socket
Closed trailer or container roof bows
Component securements, bolts, rivets, welds
Coiispicuity treatment

Container Securement Device Handles
Damage to the first three crossmembers (4)
Doily Axle

Dolly Wheels

Door Locking Bar Handles

Door Tie-backs

FHWA inspections

Floor or decking

Heating and/or refrigeration unit repairs
Hub assembly due to insufficient lubrication
initial + Number Markings

interior landing gear components

interior Lining

interior Posts

Landing Gear Operating Cross shaft

Lift Pads

Lights

i\/ianifest Box

l\/iud Flaps + brackets

Pi Ceitification

Refrigeration Cabinet Doors

Repairs, renewals or replacement of tires and/or tubes
Repiacement of dolly crank handle
Replacement or repair of gladhands

Roll-up doors

Safety Latches

Sand Shoes

Side doors

Sign Boards

Sliding Tandem removable locking bars
Tarik container Components

Traiier/Chassis locking assemblies

(l) Not equipped with automatic slack adjusters

(2) Upon Drivers Request with Drivers signature required

(3) Except servicing due to accumulation ofice and snow

(4) Located behind the grid section oftrailers not originally equipped with grid extension plate.

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Exhibit C to UIIA
(Added to UHA on 07/25/07, Last Revised 09/01/09)

Motor Carrier Responsibility During the interchange Period

Tires

Tire has body ply or belt material exposed through the tread or sidewall

Tire shoulder and/or tread cut/punctured through one or more plies of fabric when such injury is larger than 1/4".
Slid Flat damage to tire and/or tube - removal of 4/32 of tread or rubber when compared to the remaining tread
Run Flat damage to tire and/or tube

Missing Tire tube or rim

Removabie items

i\/iissing chains, binders and cables
Missing taipaulins and securements
Missing tarpaulins bows

i\/iissing rear header bar

l\/lissing bulkhead

Cut or Torn ( through the thickness of metal)
l\/letal door, gate sheet, post, crossmember, brace or support
DOT Under Ride Guard

Berit ( where proper operation or function of unit is impaired)
Metal door, gate slieet, post, crossmember, brace or support
DOT Under Ride Guard

Missing Items

DOT Under Ride Guard
Door or Gate

Reinovable side or section
Refrigeration unit parts

interior
interior not free of dunnage bracing and/or debris
Contaminatioii (refer to AAR Rule 81 (g) l-l 3)

Other
Correction of temporary repairs

Citations

Citations may be rebilled from the owner to the user of the equipment

The foregoing list does not include Defects as defined in Section B, Definitions of 'fernis.

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EXHIBIT D TO THE UIIA
BINDING ARBITRATION PROCESS GUIDELINES
(Added to UiiA on 8/1/08)
(Last Revised 04/14/11.)

l, This process is applicable for disputed transactions relating to l\/laintenance and Repair or Per Diem
invoices between Providers and Users (Motor Carriers) of Equipment who are signatories to the Uniform
intermodal interchange and Facilities Access Agreement (UiiA). [Revised 04/14/11]

2. Disputes handled under the arbitration process will be mandatory and binding upon the Paities. The
arbitration process will be administered exclusively by iANA. [Revised 04/14/11]

3. A three-member arbitration panel will be appointed by iANA to handle disputed invoices submitted for
arbitration The panel will consist of one iANA member from each mode i.e. a l\/iotor Carrier, Water
Carrier and Railroad. However, the decision will be rendered by the two arbitrators representing the modes
involved in the disputed invoice(s). The third appointed arbitrator from the mode not involved in the
transaction will act as an alternate and will render a decision only in the event the arbitrators from the
involved modes cannot agree on a resolution of the dispute

4. l\/iembers of the arbitration panels will serve on a voluntary basis without compensation and for a period of
one year. To qualify as an arbitrator the individual must have five years’ operating experience involving
such matters as gate interchanges, the yard procedures associated with vessels and trains, loading and
unloading operations, the operations of marine and rail container yards, the receiving and delivery of
containers, and/or with road equipment

5. Disputes must be submitted to iANA in writing and in accordance with Section H.l. and must be
accompanied by a filing fee made payable to iANA to cover the costs of the administration of the
arbitration process [Revised 04/14/11]

6. Disputes must be confined to charges arising from l\/iaintenance and Repair (M&R) or Per Diem invoices.
There will be no limitation on the amount in controversy Disputed invoices can be consolidated for
handling in a single arbitration, provided that they involve the same or related charges [Revised
04/14/11}

7. The arbitration process will be initiated by the Invoiced Party or the invoicing Party (Moving Party) by
the filing of a Notice of intent to Seek Arbitration with iANA by e-mail, facsimile or overnight mail.
iANA will transmit the Notice to the appropriate individual in the Invoicing Party or Invoiced Pa rty
(Responding Pai'ty) organization designated to receive such Notice. Withiri 15 days from the filing of the
Notice, the l\/ioving Party must submit its information and arguments to iANA, who in turn will submit the
documents to the Responding Party. Failure of the Moving Party to submit the required
documentation outlined in the Notice of lntent to Seek Arbitration form within this timeframe, will
result in the claim being rejected [Revised 04/14/11]

8. Responding Party will have 15 days from the date that the arbitration documents are sent to it by iANA to
respond Upon receipt ofthe Responding Party’s documents, the complete record will be transmitted by
lANA to the arbitrators Failure of the Responding Party to respond to the claim within this
timeframe will result in the arbitration panel rendering its decision based solely on the supporting
documentation submitted by the Moving Party, along with the terms and conditions of the UIIA
and/or the Providers’ Addenda. [Revised 04/14/11]

9. The arbitration panel will have 45 days from the date the information and arguments submitted by the
Parties are sent by lAi\lA to render a written decision indicating the basis for its conclusions its findings
will address the validity of the claims and the Party responsible for payment or satisfaction thereof The
determinations are to be based solely on the rules in the UIIA and the rules and charges in the Provider’s
Addendum. {Revised 09/01/091

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Exhibit D of the UIIA (continued)

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if during an arbitration panel’s deliberations it appears that further clarification or explanation is needed
from a Party or the Paities, a conference call may be conducted with both Parties in the arbitration process
participating in the call.

The decision of the arbitration panel will be transmitted to lANA which will, in turn, forward the decision
to the Parties by e-mail, facsimile or overnight mail. The decision of the arbitration panel is final and no
appeal is permitted

if any part of an invoice submitted for arbitration is not disputed that part must be timely paid and cannot
be withheld during the arbitration process. in response to the arbitration panel’s decision, order of
reimbursement, payment or cancellation of the invoice must occur within 15 days from the date of receipt
of the arbitrators’ decision [Revised 05/12/10]

The cost of the filing fee is assessed against the Party against whom the arbitrators’ decision is rendered
Shouid the filing fee have been paid by the prevailing party, it is entitled to reimbursement by the losing
party. ,

Once the arbitration process has been initiated, no suspension cancellation, termination or any type of
interruption of the i\/iotor Carrier’s interchange privileges for the disputed claims may occur. The Provider
and l\/Iotor Carrier, nevertheless, retain all their rights and remedies for the enforcement of the binding
arbitration decision [Revised 04/14/11]

initiation of the arbitration process by a l\/lotor Carrier does not preclude a Provider from suspending,
cancelling, or terminating the interchange privileges of this l\/lotor Carrier for reasons not related to the
subject of the disputed claim and that are governed by the provisions of the UllA and/or the Provider’s
Addendum. [Revised 09/01/09]

invoices submitted for arbitration must arise on or after the announced effective date of the
implementation ofthe program, which is August 1, 2008. [Revised 04/14/11|

Except for the decision by the arbitration panel, all documents, including e~mails, and oral and written
communications generated under the Binding Arbiti'ation Process and/or submitted by the Invoicing
Party and Invoiced Party are confidential, and will not be released by l`ANA to any other person without
the express written consent of all Parties to the arbitration [Revised 04/14/11]

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UIIA ADDENDUM TEMPLATE

Listed below is the universe of economic issues that the intermodal interchange Executive Committee has approved for
inclusion in each participating Provider`s Addendum to the Uniform intermodal interchange and Faci|ities Access Agreement (UllA).

Providers who subscribe to this Agreement will utilize this template in creating their individual Addenda. They are not required
nor are they expected to utilize every component listed below in creating their proprietary Addendurn. For example certain of the
Addendum template provisions are more germane to rail-truck lnterchange than water carrier-truck interchange and vice-versa

The Parties may not use this Adclendum to obviate or undermine the intent of the Agreement. For example, the Agreement
contemplates certain reimbursements for the cost of repairs The Parties may agree to limit the potential cost of those repairs, but
such limitations may not be so restrictive that they would virtually eliminate responsibility for reimbursement

lt will be impermissible for Provider Agreement subscribers unilaterally to add other provisions to their individual Addendum to
this Agreement. Requests for addition(s) to the universe of economic issues that can be utilized in an Addendum to this Agreement
shall be submitted to the intermodal interchange Execuiive Committee for consideration as set forth in Part ll, implementation
Review, interpretation and l\/lodification Procedures.

l. Notification and Free Time

A. Free Time Commences
B. Amount of Free Tlme

1. LoadlEmpty

2. LoadlLoad

3. EmptylLoad
. Weekends ~ interruption of expiry of free time
. Holidays - interruption of expiry of free time
. Unroadworthy Equipment - suspension of explry of free time
. interchange to inland Carrier »~ equivalent of termination

'l`llT|UO

ll. Origin Storage
A. Free Time Commences
B. Amount of Free Time
C. Charges Per 24-hour Period

lll. Destiriation Storage
A. Free Time Commences
B. Amount of Free Time
C. Charges Per 24~hour Perlod

l\/. Per Diem and Trailer Detention
A. Type of Equipment
t. Free Time Allowance

2. Per Diem
a) Day 1 -
b) Day ___ - _W
cl Day __ - _____

V. Method of Invoice Dispute Resolution

\/l. Other Charges

Empty to Empty

Crossover

Failure to File Crossover lnterchange
Hazardous/l\/luniclpal Waste

OTHER

npow>

Vll. Damages to Equipment
A. l\/lethod of Determining Cost

B. Other

\/lll. Repairs to Equipment
A. Tires
B. Other

lX. Lost, Stolen or Destroyed Equipment
A. Suspenslon of Per Diem
B. Dlsposition ot Destroyed Equlpment

X. insurance
A. Amounts of Additional Requlred Coverage by Class
B. Limitations on Rating l_evel of insurer
C. Seli‘-lnsurance and l\/linlmum Permissible Deductibles
2/10/99
l_ast Revised 03/01/11

22

Case 2:11-cv-02952-DDP-PLA Document 1 Filed 04/07/11 Page 42 of 45 Page |D #:45

UNITED STATES DISTRICT C()URT
CENTRAL DISTRICT OF CALIF()RNIA

NOTICE ()F ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge S. J ames Otero and the assigned discovery
Magistrate Judge is Victor B. Kenton.

The case number on all documents filed With the Court should read as follows:

CVll- 2952 SJO (VBKX)

Pursuant to General Crder 05-07 of the United States District Court for the Central
District of Califomia, the Magistrate ludge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (lf a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be tiied at the following location:

[X] Western Division [__] Southem Division L] Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Faiiure to tile at the proper location will result in your documents being returned to you.

 

CV-’lS (03/06) NOTiCE OF ASSIGNMENT TO UN|TED STATES MAG|STRATE JUDGE FOR DiSCOVERY

eeee 2:1eev-aieneaa-ailinrneeaelitecanent/sins tennessee Peee 'D #:ee

ClViL COVER SHEET

 

l (a) PLAINTIFFS (Check box if you are representing yourself §)
ELlTE LOGlSTiCS CORPORATION,

and on behalf of all others similarly situated

DEFENDANTS
MOL (AMERICA), lNC., and DOES 1-10

 

(b) Attorneys (Firrn Name, Address and Telephone Nulnber. if you are representing
youl'self, provide salne.)
MCCUNEWRIGHT LLP
2068 Orange Tree liane7 Suite 216
Redlands, California 92374

Attomeys (lt` Known)

(909) 557~1250

 

 

ll. BASIS OF JURISDICTION (Place an X in one box only.) lll. CITIZENSHIP OF PR!NC!PAL PARTIES - For Diversity Cascs C)nly
(Place an X in one box for plaintiff and one for defendant.)
§ l U.S. Govel'rlment Piainliff § 3 Federal Question (U.S. PTF DEF §F DEF
Government Not a Party) Citizen ot This State § l § 1 incorporated or Pl'incipal Place 4 ij 4
ot` Business in this State
§ 2 U.S, Goverrlment Defendant 11(4 Diversity (lndicate Citizensllip Citizen of Another State § 2 ij 2 lncorporated and Principal Place § 5 i\_(§
of Parties in item 111) of Business in Another State
Citizen or Subject ofa Foreign Couniry § 3 § 3 Foreigrl Nation § 6 § 6

 

 

IV. ORIGIN (Place an X in one box only.)

iI/l Original § 2 Relnoved from § 3 Remanded from § 4 Reinstated or § 5 7”l`ransferred ti'oln another district (specit`y): § 6 Multi- § 7 Appeal to Disiriet
Proceeding State Court Appellate Court Reopened District lodge from
Litigation Magistrate ludge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: N(Yes § No (Checi< ‘Yes’ only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23: iY{Yes § No

§ MONEY DEMANDED IN COMPLAINT: $

 

VI. CAUSE ()F ACTION (Cite the U,Sr Civii Statute under which you are filing and write a brief statement of cause Do not cite jurisdictional Statutes unless diversity.)
28 U¢S_C. 1332 - Unfair Business Practice (Cal, Bus. & Prof. Code Section l7200); Breach of Contract

Vll. NATURE OF SUIT (Place rm X in one box only.)

 

 

 

 

 

 

 

 

 

 

 

(HHER STATUH'ES CONTRAC¥ TORTS TORTS PR!S{)NER LABGR

§ 400 State Reapportionment § 1 10 lnsurance PERSCNAL INLlUlRY PERSGNAL PETII'IGNS § 710 Fail‘ Labor Standards

§ 410 Antitrust § 120 l\/larine § 310 Airplane PROPERTY § 510 Motions to Act

§ 430 Banks and Banking § 130 Miller Act ij 315 Aifpian€ PYOdUCf § 370 Other Fraud Vacate Sentence § 720 Labol‘/Mgmt.

l:l 450 Cninineice/lcc m 140 Negoiinbln lnsnninenl Liebility m 371 rinili in tending nabeas enran Relnninns

_ Assau t, 1 e n
Rates/etc. § 150 Recovery of m 370 l L-b 1& § 380 Other Personal § 530 General § 730 Labor/M¢mt.

§ 460 Deportation Overpayment & S]ander d Propel‘ty Damage § 535 Death Penaiiy Reportl`ng &

§ 470 Racketeer lntluenced Enfol'cement of l:] 330 F?d' ,E_mpioyers § 385 Prcperty Damage § 540 Mandamus/ Disclosure Act
and Corrupt .ludgment 4 II\“/;ab_lhty Product Liability Othel‘ § 740 Railway Labor Act
organizations m 151 lvl@dicnie Ani § §4(5) Ma“.“€ P d l BANKRUPTCY n 550 civil signs l:l 790 omni tanni-

m 1180 consumer Ciedil l:l 152 Recnvery oft)nrnnlieil 1 i:§§;y m uc l: 422 Appeal 28 usc la 555 l>nn~nn omittian Liiignnnn

§ ;?3 §alble/_Sat;`\l 4 §/tudent Loan (Excl. m 350 Motor V€h].de g 493 1};~8}“!` l 28 F(;RFEHI¥;EK' § /91 Empl._R"e; lnc`

e ect-title elvlce ` _ / l oterans) m 355 MOLO!_V€MC]€ .. lt lawa E]N`A' »l FR Secllm` 131 et

§ 850 Seculltles/Commodltles § 153 Recovely ot` Pmdum Liabmty USC h'l § 610 Agllculture OPERTY RIGHTS
Exchange Overpayment of g 360 Other personal CTWLBIGHIS ij 620 Otber Food & § 820 Copynghts

§ 875 Customer Challenge 12 Veteran’s Benetits wqu § 441 Votlng Drug § 830 Patent
USC 3410 § 160 Stockhoiders’ Suits g 362 personal Injm_y_ § 442 Employment ij 625 Dl'ug Reiated § 840 "Flrademar§;

igl890 Other Statutoly Actions § 190 Other Contract Med Malpractjce § 443 Housing/Acco< Seizure of SOC`!ALSECURH'Y

§ 891 Agrl`cultural Act § 195 Corltl'act Product ij 365 Pers@nal ln_july. lnmodations Property 21 USC § 861 HlA (l 395t`l")

§ 892 Economl`c Stabilizatiorl liability Pi-Oducl Ljabj]ity § 444 Weifare 881 § 862 Black Lung (923)
Act § 196 Frnm:iinilse § 368 Asbestos Personai § 445 American with § 630 Liquor Laws § 863 DlWC/DIWW

§ 893 Enviromnental Malters RBALPRGPERTY' injury Pl'oduct Disabilities - § 640 R.R. & Trucl< (405(g))

§ 894 Energy Allocaiion Act § 210 Land Condemnation Liability Employlnent § 650 Airiine Regs § 864 SSlD Title XVI

§ 895 Frcedoln of info. Act § 220 Foreclosure MLGRAHON § 446 Alnerican with § 660 Occupational § 865 RSI (4015(§))

§ 900 Appeal ot`Fee Determi- § 230 Rent Lease & E_jectment i:\ 462 §3“1\§311':350“ Disabilities - Safety /Heaith §`EDERAL TAX SUITS
nation Under Equai § 240 Torts to Land 1319 ica 10“ Other l ij 690 Othcr § 70 Taxes (U.S. Plaintiff
Access to lustice § 245 'l`on Product Liability m 463 H§b€as COY?“S' § 440 Othcr Civii or Det`endarlt)

§ 950 Corlstituiionality of § 290 All Other Real Property y All€ll Detal_neey Rights § 871 lRS-Third Party 26
stale statutes 5 463 gift immigration usc 7609

C iOnS

FOR OFFICE USE ONLY: Case Nulnbel’: §§ §

AFTER COMPLETING THE FRONT SIDE OF FORM

 

 

 

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CV-7l (05/08) ClVlL COVER SHEET

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Page 1 ot`2

 

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CIVlL COVER SHEET

Vlll(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? iQINo ij Yes
lf yes, list case number(s):

 

Vlll(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? ijNo § Yes
lf` yes, list case number(s):

 

Civil cases arc deemed related if a previously filed case and the present case:
(Check all boxes that apply) § A. Arl`se from the same or closely related transactions happenings, or events; or
§ B. Call for determination of the same or substantially related or similar questions of law and fact; or
§ C. For other reasons would entail substantial duplication of labor if heard by different judges; or
§ D. involve the same patent, trademark or copyright, _a_n_d_ one of the factors identified above in a, b or c also is present

 

lX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides
§ Check here if the government, its agencies or employees is a named plaintiff If this box is checkcd, go to item (b)4

 

County in this District;* Califomia County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles

 

 

(b) List the County in this District; California County outside of this District; State if other than Calit`ornia; or Foreign Courltry7 in which EACH named defendant resides
§ Check here if the government, its agencies or employees is a named defendant lt` this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

MOL (AMERICA) INC. - Delaware and New York

 

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim al'ose.
Note: In land condemnation cases, use the location of the tract of land involved. f

 

County in this District:* Calif`ornia County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles

 

 

 

 

* Los Angeles, Orange, San Bernardino, Rivcrside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: ln land condemnation cases use the location of the tract of land involved `

X, slcNAruRE or ATToRNEY <oR PRo PER); w pate Aer 7, 201 1

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and Service of pleadings
or other papers as required by law. This fonn, approved by the J udicial Conference of the United States in September 1974, is required pursuant to Local Rule 3~1 is not filed
but is used by the Clerk of the Court for the purpose ofstatistics, venue and initiating the civil docket sheet. (For more detailed instructions see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substanttve Statement of Cause of Action

861 HIA All claims for health insurance benefits (l\/ledicare) under Title 18, Part A, ofthe Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program (42 U.S.C, 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DlWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability (42 U.S.C. 405(g))

863 DIWW All claims filed for Widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended (42 UiS.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U~S-C- (g))

 

CV-71 (05/08) CIVIL COVER SHEE'I` Page 2 of 2

Case 2:11-cV-02952-DDP-PLA Document 1 Filed 04/07/11 Page 45 of 45 Page |D #:48

David C- Wrigh’€, SBN 177468
MCCuneWright, LLP

2068 Orange Tree Lane, Suite 216
Redlands, CA 92374

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

C`/€ gewin era ,» CASE NUMBER __:M
ELITE LOGISTICS t`:‘® , , and on behalf b ,, " _'

cf all others Similai:ly Situ d,

 

  

V.
MOL (AMERICA), INC., and DGES l-lO,

 

SUMMONS

DEFENDANT(S) .

 

TO: DEFENDANT(S): MOL (AMERICA) , INC . , and DOES 1"1€} ,
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached ,_…;; complaint :_/_::L amended complaint
f::counterclaim_':_:,§ cross~claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff’ s attorney, David C . Wrioht; , whose address is
2068 Orancie Ti:ee Lane , Suite 216 . Redlands . CA 92374 .lfyou fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint You also must file
your answer oi‘ motion with the court.

 

TER§Y l\li’:tfifi
Clerk, U.S. District Court

/¢`J_,,,»

art il itt // f

fig / y f t
Dated: F§Y§l i°'" ii " By: 55 § §§ § §/? ;;,f
§ Deputy §1erl§§
\\

(Sea/ Ofilie Cow"i)

[Use 60 days if the defendant is the U)iiz‘ed Smtes or a Um`z‘ed Smtes agency, or is an ojj‘z`cer or employee Ofthe Um`lea' Stcztes. Allowed
60 days by Rule /2_((1)(3)]. "‘

 

 

CV<OlA (12/07) SUMMONS
CCD-'lA

